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                                           Exhibit A

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY
                                                                                 CL
  DOW PHARMACEUTICAL SCIENCES,
  INC. and VALEANT PHARMACEUTICALS
  NORTH AMERICA LLC,

                       Plaintiffs,

                v.                               Civil Action No.: 2:16-cv-00217-SRC-CLW
                                                               (consolidated)
  TARO PHARMACEUTICALS U.S.A., INC.
  and TARO PHARMACEUTICAL
  INDUSTRIES LTD.,

                       Defendants,

  ACTAVIS LABORATORIES UT, INC.

                       Defendant,

  PERRIGO UK FINCO LIMITED
  PARTNERSHIP, PERRIGO ISRAEL
  PHARMACEUTICALS LTD., L. PERRIGO
  COMPANY, and PERRIGO COMPANY,

                       Defendants.



                                     STIPULATED DISMISSAL

        WHEREAS Plaintiffs Dow Pharmaceutical Sciences, Inc. (“Dow”) and Valeant

  Pharmaceuticals North America LLC (“Valeant”) and Defendants Taro Pharmaceuticals

  U.S.A., Inc. and Taro Pharmaceutical Industries Ltd. (collectively, “Taro”) are parties to

  this litigation relating to U.S. Patent No. 8,288,434 (the “’434 patent”), U.S. Patent No.

  9,504,704 (the “’704 Patent”), and U.S. Patent No. 9,561,208 (the “’208 Patent”) and

  have agreed to the terms and conditions representing a negotiated settlement of this

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  action and have set forth those terms and conditions in a Confidential Settlement and

  License Agreement (the “Settlement Agreement”),


        IT IS HEREBY STIPULATED AND AGREED, through their undersigned counsel

  of record, that pursuant to Fed. R. Civ. P. 41(a)(2) and in consideration of the Settlement

  Agreement, Plaintiffs and Taro hereby agree and stipulate to the following:


        1.     All claims, counterclaims and affirmative defenses of Plaintiffs and Taro in

  this action are hereby dismissed without prejudice;

        2.     Plaintiffs and Taro shall each bear their own costs and attorney fees; and

        3.     The Court shall retain jurisdiction over the parties and this action to the

  extent necessary to enforce the terms of the Settlement Agreement.


  IT IS SO STIPULATED:

  Dated: October 23, 2018
                                           GIBBONS P.C.

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                                           Sciences, Inc. and Valeant Pharmaceuticals
                                           North America LLC

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               s/ Stanley R. Chesler, USDJ
  So Ordered: ________________________




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